2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 1 of 21
                                2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 2 of 21

Mississippi Minerals, Inc.                                                        BALANCE SHEET (Assets)
2:17-bk-72861                                      FILING         MONTH            MONTH      MONTH      MONTH      MONTH      MONTH      MONTH
June 30, 2019                                      DATE           ENDING           ENDING     ENDING     ENDING     ENDING     ENDING     ENDING
11/15/2017                                    [CASE FILE DATE]    06/30/19        [MONTH2]   [MONTH3]   [MONTH4]   [MONTH5]   [MONTH6]   [MONTH7]
CURRENT ASSETS
 Cash (business accounts)                                   -           360.99          -          -          -          -          -          -
 Cash (household accounts)                                  -              -            -          -          -          -          -          -
 Accounts Receivable (Sch A)                                -    (4,779,064.53)         -          -          -          -          -          -
Other Current Assests:
Prepaid Exp.-Finance fees                                          196,876.61
Prepaid Exp.-Insurance                                               1,861.00
Prepaid Exp.-Others                                                 25,600.00
 Inventory Assests                                          -        2,739.60           -          -          -          -          -          -
IT Refund Receivable                                                 5,000.00
Intercompany Recibalbes:
Int.company Receivable-Sebastian Mining                          16,452,573.74
Int.company Receivable-Sebastian Leasing                          2,110,819.68
Int.company receivable-Blue Ridge Mining                            786,722.02
Int.company Receivable-Iaeger Minerals                            7,374,740.98
Int.company Receivable-Sebastian Management                      19,367,670.13
Int.company Receivable-Others                                        10,500.00

 Prepaid Expenses/Deposits                                  -              -            -          -          -          -          -          -
 Other                                                      -              -            -          -          -          -          -          -
TOTAL CURRENT ASSETS                                        -    41,556,400.22          -          -          -          -          -          -



FIXED ASSETS
 Cost (Sch B)                                               -       16,862.96           -          -          -          -          -          -
 Accumulated Depreciation                                   -        5,743.07           -          -          -          -          -          -
NET BOOK VALUE                                              -       11,119.89           -          -          -          -          -          -



OTHER ASSETS-DSRA & Investment in Subsidiar                 -     7,852,577.25          -          -          -          -          -          -



TOTAL ASSETS                                                -    49,420,097.36          -          -          -          -          -          -
                                2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 3 of 21

Mississippi Minerals, Inc.                                                  BALANCE SHEET (Liabilities & Equity)
2:17-bk-72861                                            FILING         MONTH             MONTH      MONTH      MONTH      MONTH      MONTH      MONTH
June 30, 2019                                            DATE           ENDING            ENDING     ENDING     ENDING     ENDING     ENDING     ENDING
11/15/2017                                          [CASE FILE DATE]    06/30/19         [MONTH2]   [MONTH3]   [MONTH4]   [MONTH5]   [MONTH6]   [MONTH7]
LIABILITIES
 Post Petition Debt (Sch C)                                       -                -           -          -          -          -          -          -



Accounts Payable                                                  -     1,657,531.96           -          -          -          -          -          -
Payroll tax payable                                                           442.69
Intercomapny Payabel:
Blue Ridge Mining                                                         747,912.18
Halida coke & chemicals                                                48,819,775.70
Orient Green power Ltd                                                    900,000.00
Shriram EPCS P ltd                                                         60,000.00
Radiant star properties llc                                               249,842.00
Sebastian Mining llc                                                        5,250.00
Accured Liabilities:
Expenses                                                                   (6,764.02)
Interest                                                                  841,488.75
Long Term Liabilities-Note Payable:
Punjab National Bank#5                                                  5,000,000.00
Punjab National Bank#6                                                  6,070,000.00
Export-Imbort Bank#1                                                    5,000,000.00
Export-Imbort Bank#2                                                    5,000,000.00
Deferred Income Tax Liability:
Deferred Federal Income Tax                                             7,868,793.97
Deferred State Income Tax                                               1,435,038.00
    Unsecured Priority                                            -              -             -          -          -          -          -          -
    Unsecured Non-Priority                                        -              -             -          -          -          -          -          -
    Other                                                         -              -             -          -          -          -          -          -
TOTAL LIABILITIES                                                 -    83,649,311.23           -          -          -          -          -          -



EQUITY
 Preferred & Common Stock                                         -            10.00           -          -          -          -          -          -
 Add'l Paid-In-Capital/Owner draws                                -     3,299,990.00           -          -          -          -          -          -
 Retained Earnings/Net Assets
    - through filing date                                         -               -            -          -          -          -          -          -
    - post filing date                                            -    (37,408,554.46)         -          -          -          -          -          -
 Individual Debtor Capital (Sole Proprietor)
    - through filing date (household net worth)                   -                -           -          -          -          -          -          -
    - post filing date (change in household cash)
Net Income                                                                (120,659.41)         -          -          -          -          -          -
TOTAL EQUITY                                                      -    (34,229,213.87)         -          -          -          -          -          -



TOTAL LIABILITIES & EQUITY                                        -    49,420,097.36           -          -          -          -          -          -
2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 4 of 21

   Mississippi Minerals, Inc.                                       INCOME (LOSS) STATEMENT
   2:17-bk-72861                             FILING DATE        MONTH      MONTH      MONTH      MONTH      MONTH      MONTH
   June 30, 2019                           thru MONTH END       ENDING     ENDING     ENDING     ENDING     ENDING     ENDING
   11/15/2017                                   06/30/19       [MONTH2]   [MONTH3]   [MONTH4]   [MONTH5]   [MONTH6]   [MONTH7]

   GROSS SALES / Income                           20,000.00           -         -          -          -          -          -
   Funds Transfer from BRM                        20,000.00
   Funds Transfer from FNB
   AES
   Funds From Parent Company
   Funds Transfer Regions-MMI
   CD Interest / ADP / Other Deposit

   COST OF GOODS SOLD
    Materials                                           -             -         -          -          -          -          -
    Direct Labor                                        -             -         -          -          -          -          -
    Manufacturing Overhead                              -             -         -          -          -          -          -
     Total Cost of Goods Sold                           -             -         -          -          -          -          -

   GROSS PROFIT                                   20,000.00           -         -          -          -          -          -

   OPERATING EXPENSES
    Sales & Marketing                                   -             -         -          -          -          -          -
    Executive & Mgmt Salaries                     19,625.00                                           -          -          -
    Office & Other Salaries                             -                                             -          -          -
    Fringe Benefits (pr taxes)                          -                                             -          -          -
    Rent                                                -                                             -          -          -
    Travel & Entertainment                              -                                             -          -          -
   Audit Fees                                                                                         -          -          -
    Insurance                                       156.48                                            -          -          -
   Bank Fee                                          80.00
    Other Professional / ADP Fee                    102.16                                            -          -          -
    Dues & Subscriptions                                                                              -          -          -
    Telecommunications                                                                                -          -          -
   Funds Transfer to Key Trustee Account
   Funds Transfer to BRM
   Funds Transfer to Regions-MMI
   Funds Transfer Debtor A/c
   Arkansas Valley Electric
   General Liability Insurance                     1,109.19
   Brixey Engg. & Land Surveying
   Data Testing                                     456.00
   Mine Rescue - Taxoma
   ADEQ Material and Labor                          307.60
   Water Tech
   Wilkem
   SSK Capital / Independent Investment
   Asarco
   Credit card
   Buchanan Pump Service
   Court fee                                        977.64
   Consulting
    Office Supplies                                                   -         -          -          -          -          -
    Other (complete subsequent tab)                     -             -         -          -          -          -          -
   TOTAL OPERATING EXPENSES                       22,814.07           -         -          -          -          -          -


   OPERATING INCOME (LOSS)                        (2,814.07)          -         -          -          -          -          -

   OTHER EXPENSES
    USTP Quarterly Fees                                 -             -         -          -          -          -          -
    Depreciation & Amortization                         -             -         -          -          -          -          -
    Income Taxes                                        -             -         -          -          -          -          -
    Interest (net)                                      -             -         -          -          -          -          -
   TOTAL OTHER EXPENSES                                 -             -         -          -          -          -          -


   OTHER INCOME                                         -             -         -          -          -          -          -

   NET INCOME (LOSS)                              (2,814.07)          -         -          -          -          -          -
2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 5 of 21


                                           Jun-19
                                                                Income
          FN-MMI
6/13/2019 Funds transfer from BRM                   10000.00
6/25/2019 Funds transfer from BRM                   10000.00




                                                    20000.00


                                                               Expenses
            FN-MMI
                                                                  6/4/2019
 6/7/2019 ADP Payroll Fee                              23.58      6/5/2019
6/11/2019 Std Ins Payment                             156.48      6/6/2019
6/13/2019 ADP MMI payroll                            8612.00
6/14/2019 ADP Payroll Fee                              35.00
6/17/2019 Sebastian Management payroll               1200.00
6/21/2019 ADP fee                                      23.58
6/24/2019   General Liability Insurance              1109.19
6/25/2019   Sebastian Management payroll             1200.00
6/25/2019   Water Sampling ADEQ Job                   307.60
6/26/2019   Data Testing ADEQ                         456.00
6/27/2019   ADP MMI payroll                          8613.00
6/28/2019   ADP Payroll Fee                            20.00




                                                    21756.43
 2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 6 of 21


                  Jun-19

Debtor in Possession A/c.




FN DIP
Bankruptcy Court Fee                        325.88
Bankruptcy Court Fee                        325.88
Bankruptcy Court Fee                        325.88
                             2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 7 of 21


Mississippi Minerals, Inc.                                             OTHER EXPENSES
2:17-bk-72861                           FILING DATE      MONTH          MONTH      MONTH       MONTH      MONTH      MONTH
June 30, 2019                         thru MONTH END     ENDING         ENDING     ENDING      ENDING     ENDING     ENDING
11/15/2017                                 06/30/19     [MONTH2]       [MONTH3]   [MONTH4]    [MONTH5]   [MONTH6]   [MONTH7]
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
                                                    -              -         -          -           -          -          -
TOTAL OTHER EXPENSES                                -              -         -          -           -          -          -
                         2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 8 of 21



Mississippi Minerals, Inc.                                        CASH FLOW STATEMENT
2:17-bk-72861                               MONTH       MONTH      MONTH      MONTH      MONTH      MONTH      MONTH
June 30, 2019                               ENDING      ENDING     ENDING     ENDING     ENDING     ENDING     ENDING
11/15/2017                                  06/30/19   [MONTH2]   [MONTH3]   [MONTH4]   [MONTH5]   [MONTH6]   [MONTH7]
Current Month Cash (business accounts)             -         -          -          -          -          -          -
Prior Month Cash (business accounts)               -         -          -          -          -          -          -
NET CASH INCREASE (DECREASE)                       -         -          -          -          -          -          -



SOURCES (USES) OF CASH
Net Income (Loss)                                 -          -          -          -          -          -          -
Add: Non-cash (dep & amort)                       -          -          -          -          -          -          -
Cash Generated from Operations                    -          -          -          -          -          -          -

ADD: (enter as positive)
 Decrease in Assets
 Accounts Receivable                              -          -          -          -          -          -          -
 Inventory                                        -          -          -          -          -          -          -
 Prepaid Expenses                                 -          -          -          -          -          -          -
 Other Current Assets                             -          -          -          -          -          -          -
 Fixed Assets                                     -          -          -          -          -          -          -
 Other Assets                                     -          -          -          -          -          -          -
 Increase in Liabilities
 Post Petition Debt                               -          -          -          -          -          -          -
 Pre Petition Debt                                -          -          -          -          -          -          -

SUBTRACT: (enter as negative)
 Increase in Assets
 Accounts Receivable                              -          -          -          -          -          -          -
 Inventory                                        -          -          -          -          -          -          -
 Prepaid Expenses                                 -          -          -          -          -          -          -
 Other Current Assets                             -          -          -          -          -          -          -
 Fixed Assets                                     -          -          -          -          -          -          -
 Other Assets                                     -          -          -          -          -          -          -
 Decrease in Liabilities
 Post Petition Debt                               -          -          -          -          -          -          -
 Pre Petition Debt                                -          -          -          -          -          -          -

TOTAL SOURCES (USES) OF CASH                      -          -          -          -          -          -          -



NET CASH INCREASE (DECREASE)                      -          -          -          -          -          -          -
                         2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 9 of 21



Mississippi Minerals, Inc.                                            Schedule of A/R AGING
2:17-bk-72861                                      TOTAL
June 30, 2019                                    ACCOUNTS         0 - 30   31 - 60    61 - 90     91 - 120   OVER 120
11/15/2017                                      RECEIVABLE        DAYS     DAYS       DAYS         DAYS       DAYS

    Filing      Date         [CASE FILE DATE]
                       % of Total

   Month Ending                     June-19      (4,779,064.53)
                       % of Total                         100%

   Month Ending                     [MONTH2]
                       % of Total

   Month Ending                     [MONTH3]
                       % of Total

   Month Ending                     [MONTH4]
                       % of Total

   Month Ending                     [MONTH3]
                       % of Total

   Month Ending                     [MONTH6]
                       % of Total
                             2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 10 of 21


Mississippi Minerals, Inc.                                           Schedule of FIXED ASSETS
2:17-bk-72861                         FILING            MONTH         MONTH      MONTH      MONTH      MONTH      MONTH      MONTH
June 30, 2019                          DATE             ENDING        ENDING     ENDING     ENDING     ENDING     ENDING     ENDING
11/15/2017                       [CASE FILE DATE]       06/30/19     [MONTH2]   [MONTH3]   [MONTH4]   [MONTH5]   [MONTH6]   [MONTH7]
Building                                       -               -           -          -          -          -          -          -
Land                                           -               -           -          -          -          -          -          -
Improvements                                   -               -           -          -          -          -          -          -
Office Furniture & Equipment                   -          5,088.96         -          -          -          -          -          -
Shop Machinery & Equipment                     -    -                      -          -          -          -          -          -
PC/Lan/Mainframe                               -              -            -          -          -          -          -          -
Automobile                                     -              -            -          -          -          -          -          -
Boat/Airplane                                  -              -            -          -          -          -          -          -
Intangibles                                    -              -            -          -          -          -          -          -
Mobile Equipment                               -        11,774.00          -          -          -          -          -          -
Other ____________________                     -              -            -          -          -          -          -          -
Other ____________________                     -              -            -          -          -          -          -          -
Other ____________________                     -              -            -          -          -          -          -          -
Other ____________________                     -              -            -          -          -          -          -          -
TOTAL                                          -        16,862.96          -          -          -          -          -          -
                              2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 11 of 21



Mississippi Minerals, Inc.                                      Schedule of POST PETITION DEBT
2:17-bk-72861                           FILING        MONTH         MONTH      MONTH      MONTH      MONTH        MONTH      MONTH
June 30, 2019                           DATE          ENDING        ENDING     ENDING     ENDING     ENDING       ENDING     ENDING
11/15/2017                         [CASE FILE DATE]   06/30/19     [MONTH2]   [MONTH3]   [MONTH4]   [MONTH5]     [MONTH6]   [MONTH7]
TRADE ACCOUNTS PAYABLE                            -          -           -          -          -          -            -          -

TAXES PAYABLE
 Federal payroll taxes                           -          -            -          -          -          -            -          -
 State payroll taxes                             -          -            -          -          -          -            -          -
 Local payroll taxes                             -          -            -          -          -          -            -          -
 State sales taxes                               -          -            -          -          -          -            -          -
 Real taxes/personal prop. taxes                 -          -            -          -          -          -            -          -
 Other ____________________                      -          -            -          -          -          -            -          -
TOTAL TAXES PAYABLE                              -          -            -          -          -          -            -          -


OTHER LIABILITIES
 Post petition secured debt                      -          -            -          -          -          -            -          -
 Accrued interest payable                        -          -            -          -          -          -            -          -
 Other ____________________                      -          -            -          -          -          -            -          -
 Other ____________________                      -          -            -          -          -          -            -          -
 Other ____________________                      -          -            -          -          -          -            -          -
TOTAL OTHER LIABILITIES                          -          -            -          -          -          -            -          -



TOTAL POST PETITION DEBT                         -          -            -          -          -          -            -          -
   2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 12 of 21




  Mississippi Minerals, Inc.
  2:17-bk-72861
  June 30, 2019
                                       Summary of SIGNIFICANT ITEMS
  11/15/2017
1. INSURANCE COVERAGE
                                            Carrier or      Amount          Policy       Premium
                                             Agent            of          Expiration     Paid thru
                                             Name          Coverage          Date          Date
  Workers' Compensation
  General Liability
  Excess Liability (Umbrella)
  Automobile Liability
  Automobile Collision
  Errors & Omissions
  Directors & Officers
  Crime/Employee Theft
  Other ________________
  Other ________________
  Other ________________


2. PAYMENTS to SECURED CREDITORS

                                                         Current Month    Total Paid
                               Payee       Description
                                                          Amount Paid    Post Petition
    2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 13 of 21



   Mississippi Minerals, Inc.
   2:17-bk-72861
   June 30, 2019
                                                    Summary of SIGNIFICANT ITEMS
   11/15/2017
3. PAYMENTS to TAX ENTITIES (Current Month)

                                                                                                          Post
                                                                   Date              Amount          Petition Taxes
                                                                   Paid               Paid              Unpaid
   Federal Payroll Taxes*
   Federal Payroll Taxes*
   Federal Payroll Taxes*
   Federal Payroll Taxes*
   Federal Payroll Taxes*
   FUTA
   State Payroll Taxes withheld
   SUTA
   State Sales & Use Taxes
   Property Taxes
   Other

   *Includes employee Federal Income Taxes withheld, employee FICA taxes withheld, employee
   Medicare taxes withheld, employer FICA match and employer Medicare match.

4. PAYMENTS of COMPENSATION (Current Month)

                                                                                     Date of
                                Name                            Amount
                                                                                   Court Order




   List all payments made ot owners of proprietorships; partners of partnerships; officers, directors and
   shareholders of corporations
    2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 14 of 21



  Mississippi Minerals, Inc.
  2:17-bk-72861
  June 30, 2019
                                                   Summary of SIGNIFICANT ITEMS
  11/15/2017


5. PAYMENTS to PROFESSIONALS (Current Month)

                                                                                   Date of
                               Name                            Amount
                                                                                 Court Order




6. RECORD of DISBURSEMENTS AND PAYMENTS of QUARTERLY FEES

         Period                    Total       Quarterly       Quarterly             Date              Amount              Check
         Ending                Disbursements    Total            Fee                 Paid               Paid              Number
  January                                -
  February                               -
  March                                  -           -
  April                                  -
  May                                    -
  June                                   -           -
  July                                   -
  August                                 -
  September                              -           -
  October                                -
  November                               -
  December                               -           -

       Quarterly Disbursement Range             Fee Due                         Quarterly Disbursement Range              Fee Due
   $                -   $     14,999.99        $     325                       $ 1,000,000.00 $ 1,999,999.99          $        6,500
   $         15,000.00 $      74,999.99        $     650                       $ 2,000,000.00 $ 2,999,999.99          $        9,750
   $         75,000.00 $    149,999.99         $     975                       $ 3,000,000.00 $ 4,999,999.99          $       10,400
   $        150,000.00 $    224,999.99         $   1,625                       $ 5,000,000.00 $ 14,999,999.99         $       13,000
   $        225,000.00 $    299,999.99         $   1,950                       $ 15,000,000.00 $ 29,999,999.99        $       20,000
   $        300,000.00 $    999,999.99         $   4,875                       $ 30,000,000.00     or more            $       30,000

7. REPORT OF OTHER SIGNIFICANT EVENTS

  Provide date(s) and brief narrative description for any significant management, legal, accounting or other financial events which
  occurred during the month that are not otherwise reported above.
2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 15 of 21


       Mississippi Minerals, Inc.                               Individual Debtor
       2:17-bk-72861                                              Statement of
       June 30, 2019                                           Household Activity
       11/15/2017

       Checkbook - Beginning Bal                                             $   -

       Cash Receipts:
        Salary - husband
        Salary - wife
        Commissions
        Business Draws
        Rental Property Income
        Pension/Retirement
        Unemployment
        Interest/Dividends
        Other (describe)

       Total Receipts                                                            -


       Cash Disbursements:
        Mortgage/Rent
        Auto (loan payment)
        Utilities (water, gas, electric)
        Food
        Clothing
        Transportation (gas, bus fare, insurance)
        Repairs/Maintenance
        Medical/Dental (insurance, out-of-pocket)
        Taxes
        Telephone/Internet/Cable
        Tuition/Education
        Child Care
        Charitable Contributions
        Recreation
        Domestic Ordered Payments
        Union, Professional, Social Dues
        Other (describe)

       Total Disbursements                                                   $   -


       Checkbook - Ending Balance**                                          $   -

       Monthly change - cash inflow (outflow)*                               $   -

       *Amount s/b entered into balance sheet equity section

       **Amount s/b entered into cash line on balance sheet assets section
                        2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 16 of 21

Mississippi Minerals, Inc.          2:17-bk-72861                               June 30, 2019                  11/15/2017

                                                                  Bank Reconciliation
Bank Name                           Key Bank                               Account Name                        MMI
Balance per Books - beginning of month                               3,333.85 Balance per Bank Stmt - end of month                        3,333.85


Deposits                                                281.00                  Deposit in Transit                          20,000.00

Transfers In                                        19,719.00

         Add: Total Debits                                          20,000.00               Total in Transit                             20,000.00




Checks                                              21,756.43                   Checks                                      21,836.43

Bank Charges                                             80.00

Transfers Out

       Less: Total Credits                                          (21,836.43) Less: Total Outstanding                                  (21,836.43)


Balance per Books - end of month                                     1,497.42 Balance per bank - reconciled                               1,497.42



Checks Outstanding
      Number                                   Amount                                      Number                      Amount
                             1012                         15.00
elf                                                       94.98
                              399                        766.79
                             1277                        546.84
                                                         789.83
                             2208                        511.73
                             2745                        171.35
                             2761                        339.87
ACH                                                      305.27


                                                                                Total                          $              3,541.66
                        2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 17 of 21

Mississippi Minerals, Inc.    2:17-bk-72861                            June 30, 2019                  11/15/2017

                                                           Bank Reconciliation
Bank Name                     Key Bank                              Account Name                      DIP
Balance per Books - beginning of month                        1,897.76 Balance per Bank Stmt - end of month                 1,897.76


Deposits                                                               Deposit in Transit

Transfers In

         Add: Total Debits                                         -               Total in Transit                              -




Checks                                            977.64               Checks                                      980.64

Bank Charges                                        3.00

Transfers Out

       Less: Total Credits                                     (980.64) Less: Total Outstanding                              (980.64)


Balance per Books - end of month                               917.12 Balance per bank - reconciled                          917.12



Checks Outstanding
      Number                             Amount                                   Number                      Amount




                                                                       Total                          $                -
         2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 18 of 21

Mississippi Minerals, Inc.   2:17-bk-72861             June 30, 2019                  11/15/2017

                                             Bank Reconciliation
Bank Name                                             Account Name
Balance per Books - beginning of month            -    Balance per Bank Stmt - end of month             -


Deposits                                               Deposit in Transit

Transfers In

         Add: Total Debits                         -               Total in Transit                     -




Checks                                                 Outstanding Checks

Bank Charges

Transfers Out

       Less: Total Credits                         -   Less: Total Outstanding                          -


Balance per Books - end of month                  -    Balance per bank - reconciled                    -



Checks Outstanding
      Number                       Amount                         Number                   Amount




                                                       Total                                        -
         2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 19 of 21

Mississippi Minerals, Inc.   2:17-bk-72861             June 30, 2019                  11/15/2017

                                             Bank Reconciliation
Bank Name                                             Account Name
Balance per Books - beginning of month            -    Balance per Bank Stmt - end of month             -


Deposits                                               Deposit in Transit

Transfers In

         Add: Total Debits                         -               Total in Transit                     -




Checks                                                 Outstanding Checks

Bank Charges

Transfers Out

       Less: Total Credits                         -   Less: Total Outstanding                          -


Balance per Books - end of month                  -    Balance per bank - reconciled                    -



Checks Outstanding
      Number                       Amount                         Number                   Amount




                                                       Total                                        -
         2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 20 of 21

Mississippi Minerals, Inc.   2:17-bk-72861             June 30, 2019                  11/15/2017

                                             Bank Reconciliation
Bank Name                                             Account Name
Balance per Books - beginning of month            -    Balance per Bank Stmt - end of month             -


Deposits                                               Deposit in Transit

Transfers In

         Add: Total Debits                         -               Total in Transit                     -




Checks                                                 Outstanding Checks

Bank Charges

Transfers Out

       Less: Total Credits                         -   Less: Total Outstanding                          -


Balance per Books - end of month                  -    Balance per bank - reconciled                    -



Checks Outstanding
      Number                       Amount                         Number                   Amount




                                                       Total                                        -
                              2:17-bk-72861 Doc#: 116 Filed: 07/18/19 Entered: 07/18/19 14:53:24 Page 21 of 21




                 Mississippi Minerals, Inc.                                    Schedule of Edits
                 2:17-bk-72861
                 June 30, 2019                          FILING        MONTH MONTH MONTH MONTH MONTH MONTH MONTH
                 11/15/2017                             DATE          ENDING ENDING ENDING ENDING ENDING ENDING ENDING
 Statement                Edit Description         [CASE FILE DATE]   06/30/19 [MONTH2] [MONTH3] [MONTH4] [MONTH5] [MONTH6] [MONTH7]
    B/S                assets = liab + equity           TRUE           FALSE     TRUE     TRUE     TRUE     TRUE     TRUE     TRUE
    B/S                     AR = Sch A                  TRUE           TRUE      TRUE     TRUE     TRUE     TRUE     TRUE     TRUE
    B/S                     F/A - Sch B                 TRUE           TRUE      TRUE     TRUE     TRUE     TRUE     TRUE     TRUE
    B/S              Post Petition Debt = Sch C         TRUE           TRUE      TRUE     TRUE     TRUE     TRUE     TRUE     TRUE
    B/S              Retained Earnings rollfwd                         FALSE     FALSE    TRUE     TRUE     TRUE     TRUE     TRUE
    B/S            B/S cash bal = CFS cash bal*         TRUE           FALSE     TRUE     TRUE     TRUE     TRUE     TRUE
    B/S            B/S cash bal = CFS cash bal**                                 FALSE    TRUE     TRUE     TRUE     TRUE
    CFS              net income = income stmt                          FALSE     TRUE     TRUE     TRUE     TRUE     TRUE




*current month
 **prior month
